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                     Exhibit C-26
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         FIRST ADDENDUM TO LICENSE AND DISTRIBUTION AGREEMENT

WHEREAS, Academic Partnerships, LLC ("AP") and Augusta State University CASU")
entered into an Agreement entitled License and Distribution Agreement (the "Agreement") dated
July 21 S\ 2011, and

WHEREAS, the Parties desire to amend the Term of this Agreement, with an effective date of
July 1, 2012, by this First Addendum to the License and Distribution Agreement (" Addendum");

NOW THEREFORE, for good and valuable consideration, the receipt and adequacy of which
are conclusively acknowledged, the parties, hereby agree as follows:

1. As ofthe effective date ofthis Addendum, the Parties agree to the following changes:

        A.    The new termination date of the Agreement is June 30, 2013.

        B.    Acknowledgement by the ASU. ASU acknowledges that a significant portion of
              AP's cost is incurred before a student enrolls, and that AP's only method of cost
              recovery is through the continuing payments as a student progresses through the
              Program. Therefore, for each enrolled student who AP recruits during the Term
              of this Agreement, ASU will continue to remit payments to AP for so long as the
              student continues in the ASU program, even ifbeyond the termination date ofthis
              Agreement.

2. Except as expressly modified in this Addendum, all other terms and conditions of the
Agreement and first Addendum shall remain in full force and effect.


IN WITNESS WHEREOF, the parties have caused their authorized representatives to set forth
their signatures below.


                                               AUGUSTA STATE UNIVERSITY

                                               Signature:
                                               Name: Therese H. Rosier
                                               Title:   Vice President for Business Operations
Date:                                          Date:        ;1 -" i 6 - J a
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       SECOND ADDENDUM TO LICENSE AND DISTRIBUTION AGREEMENT

WHEREAS, Academic Partnerships, LLC ("AP") and Augusta State University CASU")
entered into an Agreement entitled License and Distribution Agreement (the "Agreement") dated
July 21 st, 2011, and

WHEREAS, the Parties desire entered into a First Addendum to License and Distribution
Agreement, with an effective date of July 1, 2012;

WHEREAS, the Parties desire to amend the Agreement, with an effective date of May 1, 2012,
by this Second Addendum to the License and Distribution Agreement (" Addendum");

NOW THEREFORE, for good and valuable consideration, the receipt and adequacy of which
are conclusively acknowledged, the parties, hereby agree as follows:

1. As ofthe effective date of this Addendum, the Parties agree to add the following provision:

       A.        AP is authorized to access limited personal student information to carry out its
                 responsibilities under the contract. AP shall not use the personal information for
                 any other purpose. ASU and AP will ensure that those persons authorized to
                 access personal student information receive appropriate guidance and training
                 regarding legitimate usage consistent with the Family Educational Rights and
                 Privacy Act ("FERPA").

2. Except as expressly modified in this Addendum, all other terms and conditions of the
Agreement and first Addendum shall remain in full force and effect.


IN WITNESS WHEREOF, the parties have caused their authorized representatives to set forth
their signatures below.


ACADEMIC PARTNERSHIPS,                              LLC       AUGUSTA STATE UNIVERSITY
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Signature: __     /_'f_iV_V_l."-/'_/_,/_v __   s,         _    .A               n
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Name: Michael 1. Briskey                                  _   Name:     Th~:f~eS~- 1-1. /2D5ie,~
Title: CFO                                                    Title:    V p JC!{           6u,s iN e:S,s 0 ce.J2c /;   eNS
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Date: 511/2012
                 ----------
                                                              Date:      6-1-       J J.
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                 Augusta State University Program        Identification   Addendum   No.1

This Program Identification Addendum ("Addendum") is a supplement to the Operational Agreement
dated July 21 ", 2011 ("Agreement") between Augusta State University ("ASU") and Academic
Partnerships, LLC ("AP") and is fully incorporated therein.


1.      NAME OF PARTICIPATING           SCHOOL:
College of Education

2.     EFFECTIVE DATE OF PROGRAM:
May 2011

3.      COURSES TO BE OFFERED:
Standard to Master's Degree in Education, including pre-requisite courses

4.      PROGRAMS AND/OR DEGREES:
Master of Education in Educational Leadership

5.      PAYMENT (This section may replace Section VIII of the Agreement.):

            A. "AP Program Revenue" means the greater of $5,000 or the product of multiplying 50%
               times the full Program tuition.

            B. For each student enrolled in the Programs, ASU will collect all Revenue and remit to AP
                the product of multiplying the AP Revenue Share times the Revenue fifteen (15) days
                after the start of each course

            C. For Example,

                            1. If the full Program tuition is $8,000

                                 (i)     AP Program Revenue equals $5,000:

                                 (ii)    AP Revenue Share equals 62.5% ($5,000 divided by $8,000)

                            2.   If the full Program tuition is $12,000

                                 (i)     AP Program Revenue equals $6,000:

                                 (ii)    AP Revenue Share equals 50% ($6,000 divided by $12,000)




ASU Addendum Program 1                                1
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                                            AUGUSTA STATE UNIVERSITY

Signature:                                  Signature:      -..1iL.....
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Name:                                       Name:        Th e.rr,~)e           1--1. We,,";., <?'t:
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Date:




ASU Addendum Program!                     2
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                                 LICENSE AND DISTRIBUTION AGREEMENT

This agreement ("Agreement") is entered into between Academic Partnerships, LLC ("AP") and Augusta
State University ("ASU"), as of July 21 st, 2011 (the "Effective Date"). AP and ASU are sometimes referred
to herein each as a "Party", and collectively as the "Parties".

ASU is a higher educational institution that offers undergraduate, graduate, and post-graduate courses.

AP provides marketing services, software for course conversion,          and a distribution   system suitable for
Online Education degree programs.

For fair consideration, the Parties agree to the following:

I.      Definitions. Capitalized terms used in this Agreement shall have the meanings set forth below or
elsewhere in the Agreement.

        A. "AP Material"         means:

        i) The Distribution System,

         ii) The AP Developed Materials, and

        iii) Any documentation or other materials associated with the foregoing.

        B. "Course" means those educational courses offered by ASU to Students that the completion of
           which results in the award of college credits, which may be marketed or distributed in whole or
           part utilizing the AP Material.

        C.    "Curriculum"    means a group of related Program(s), completion of which results in a degree or
             other objective.

        D. "Developed Materials" means any ideas, designs, development              tools, know-how, concepts,
           documentation, or written materials developed by either Party.

        E. "Distribution     System" means AP's proprietary software platform.

        F.   "Faculty" means persons appointed by ASU as ASU faculty to teach the Curriculum as part of
             the Program(s).

        G. "Intellectual Property" means any and all now known or hereafter existing rights associated
           with (i) works of authorship throughout the world, including exclusive exploitation rights,
           copyrights, moral rights and mask works; (ii) trade secret rights; (iii) trademark and trade ASU
           rights; (iv) patents, designs, algorithms and other industrial property rights; (v) other intellectual
           and proprietary rights of every kind and nature throughout the world whether arising by
           operation of law, by contract or license or otherwise; and (vi) all registrations, renewals,
           extensions, combinations, divisions, or reissues of any of the foregoing.

        H. "Online Education"             means the distribution of academic Programs (defined below) through
           electronic media.

        I. "Program(s)"          means those educational programs offered by ASU to Students that receive
             college   credits    as part of programs, the successful completion of which results in the

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             award of a Course credit, certificate or degree, which programs may be marketed or
             distributed in whole or part utilizing the AP Material.

        J. "Student(s)"     means a student enrolled in the Program(s).

        K. "ASU Material"     means any material, including without limitation Curriculum, lectures,
           documentation or related material that is created by ASU, including ASU Developed Materials.
           For the purposes of this definition, ASU includes any ASU staff, including without limitation
           Faculty.

n.       AP Obligations.   During the Term of this Agreement, AP shall assist ASU in distributing the
Program(s) by rendering the following services and bearing the following obligations (collectively, the "AP
Obligations"):

        A. Distribution    System. AP may provide its Distribution System for distributing the Program(s) to
           Students.

        B. Marketing.     AP will market the Program(s) to prospective Students. Marketing materials
           (including any related advertising) will be subject to the prior review and approval of ASU,
           which approval will not be unreasonably withheld or delayed. AP agrees that in the progression
           of marketing to Students for enrollment in the Program(s) it will not provide any commission,
           bonus or other incentive payments based directly or indirectly upon success in securing
           enrollments to any person or entity engaged in any Student recruiting or admission activities, or
           any person directly supervising such person, except in accordance with the provisions of 34
           C.F.R. 668.l4(b)(22)(2003)       and any subsequent amendment thereto, and/or any other
           requirement of the United States Department of Education, the State Council of Higher
           Education for Georgia or The Higher Learning Commission of the Southern Association of
           Colleges and Schools (hereafter collectively the "Education Regulatory Authorities") hereafter in
           effect, and all such activities will be carried out in accordance with the requirements and
           standards of all applicable state, federal or private Education Regulatory Authorities.

        C. Protection of Student Information. ASU has informed AP that Student-specific information
           necessary for the performance of this Agreement may be protected from disclosure pursuant to
           the provisions of the Family Educational Rights and Privacy Act (FERPA), (20 U.S.C. § 1232g;
           34 CFR Part 99). AP expressly agrees that to the extent it may have access to any such records,
           such access is solely for the purpose of assisting ASU in the distribution of the Program(s), AP
           may not disclose any such information to any third parties, and AP must take such measures as
           are reasonable and prudent to protect such information from inadvertent disclosure. Further, AP
           shall indemnify and otherwise hold harmless ASU for any AP unlawful disclosure or failure of
           notification as required by FERP A.

m.      ASU Obligations.      During the Term of this Agreement, ASU may obtain from AP the services
described in Section II above and bearing the following obligations (collectively, the "ASU Obligations"):

        A. Regulatory Approvals, Accreditations,      and Licenses. ASU will determine and obtain all
           necessary regulatory approvals and licenses for the Program(s) from such Education Regulatory
           Authorities as are applicable.

        B. Evaluation of Performance and Granting of Credentials. ASU will evaluate the performance
           of Students enrolled in the Program( s) in such manner as it shall deem appropriate, and shall
           grant the applicable Course credit and credentials to those Students it has deemed, in the exercise


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             of its sole discretion,   to have met its standards for the award of such Course credit and
             credentials.

        c.   Faculty. ASU will have and exercise overall academic supervision of all Faculty engaged in the
             Program(s).

        D. Student Information Systems. ASU will be responsible for all Student information systems
           including, maintaining, supporting and administering the student information systems necessary
           to facilitate and process Student enrollment, including but not limited to enabling Student
           registration for courses, providing transcripts, and enabling the entering of grades and the
           tracking of grades.

        E. FinanciallBusiness     Oversight.    ASU will oversee the fmancial management of the Program(s).

        F. Intellectual Property Notices. ASU will not remove, deface, or obscure any of AP's or its
           suppliers' copyright or trademark notices and/or legends or other proprietary notices on,
           incorporated in, or associated with the AP Materials, the Program( s) or the Distribution System.

IV.      License Grants By AP. AP hereby grants ASU a perpetual, non-exclusive license to use the AP
Materials for Online Education for delivery through the Distribution System or as otherwise agreed to in
writing by AP; as well as a limited, non-exclusive, worldwide license to use such AP trademarks as are
designated in writing by AP, in the form designated by AP, solely for the purpose of marketing the
Program(s) that utilize the AP Material and contingent upon AP's prior written approval of each use.
Appendix A lists the initial AP trademarks that may be used per this Section. All rights not expressly
granted to ASU in this Section IV herein are reserved by AP.

v.       License Grants by ASU. ASU hereby grants AP a limited, non-exclusive, worldwide license to use,
reproduce, perform, display and distribute the ASU Material including trademarks during the Term as
necessary or appropriate to distribute the Program(s) to the Students and or for the purpose of marketing the
Program( s) that is contingent upon ASU's prior written approval for use, which shall not be unreasonably
withheld. Appendix B lists the initial ASU trademarks that may be used per this Section. All     rights   not
expressly granted to AP in this Section V are reserved by ASU.

VI.    Ownership. AP shall retain all ownership of and Intellectual Property rights in the AP Material and
ASU retains all ownership of and Intellectual Property rights in the ASU Material.



        A. Ownership of Developed Materials.           Each Party shall promptly disclose to the other any
           Intellectual Property arising from or attributed to any of the work or activities undertaken as part
           of this Agreement. Any right, title and interest in and to any Developed Materials (including any
           Intellectual Property with respect thereto) arising from or attributed to any of the work or
           activities undertaken as part of this Agreement shall belong to the Party that creates such
           Developed Material or Intellectual Property, unless mutually agreed otherwise in writing. Each
           party agrees to work together to identify the owner of the Developed Material arising from or
           attributed to any work or activities undertaken as a result of this Agreement and to assist the
           other Party and/or its nominees in every reasonable way to document, secure, maintain and
           defend each Party's ownership in the Developed Materials and the Intellectual Property rights
           therein.




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                                                                       :1'plA'L
Vll.     Term. Unless sooner terminated, as herein provided, the term of this agreement shall commence as
                                                                   a
of July 21, 2011(the effective date) and shall expire on June 3 2012. Original Term may be extended by
ASU for additional, and successive twelve (12) month periods by providing written notice to
Academic Partnerships        at least sixty (60) days prior to the end of the Original Term or any
successive twelve month extension. Either party may terminate this agreement by issuing a notice
of non-renewal in writing at least twelve (12) months before the expiration of the current Term.
During the term of this agreement and a subsequent period of 36 months from the expiration of this
agreement, and annually thereafter associated with each renewal of this agreement, ASU will not contract
with any other entity to offer similar or competing services to those offered by Academic Partnerships.

VID. Payment and Taxes. Compensation to AP for its services will be mutually agreed to between the
Parties. Additionally, each Party shall be responsible for any and all withholding taxes due; however, any
applicable sales tax due for services rendered shall be the responsibility of ASU.

IX.     Indemnification.       AP will defend and indemnify ASU, to the extent permitted by Georgia law,
against any claim that any AP Material furnished by AP hereunder infringes a United States copyright,
provided that: (a) ASU notifies AP in writing within thirty (30) days of the claim; (b) AP has sole control of
the defense and all related settlement negotiations; and (c) ASU provides AP with the assistance,
information, and authority reasonably necessary to perform the above; reasonable out-of-pocket expenses
incurred by ASU in providing such assistance will be reimbursed by AP. However, AP shall have no liability
for any claim of Intellectual Property infringement resulting from: (a) modifications, upgrades or updates to the
AP Material made by ASU; (b) any ASU Material; and (c) any combination of the AP Material and ASU
Material with other material by ASU that, but for the combination, the AP Material would not be infringing.


        A. Remedies. In the event that some or all of the AP Material are held or are believed by AP to
           infringe the Intellectual Property rights of a third party, AP shall have the option, at its expense:
           (a) to modify the AP Material to be non-infringing; or (b) to obtain a license to continue using
           the AP Material. If it is not commercially feasible to perform either of the above options, then at
           AP's request ASU will return the infringing AP Material and relinquish all rights thereto. Upon
           return of the infringing AP Material to AP, ASU may terminate this Agreement with ten (10)
           days written notice. This Section IX states AP's entire liability and ASU's exclusive remedy
           for claims or damages related to InteUectual Property infringement.

X.    LIMITATION OF LIABILITY.  NEITHER PARTY SHALL BE LIABLE FOR ANY
INDIRECT,  INCIDENTAL, SPECIAL,  PUNITIVE, OR CONSEQUENTIAL   DAMAGES,
REGARDLESS OF THE TYPE OF CLAIM, WHETHER IN CONTRACT, TORT (INCLUDING
NEGLIGENCE), WARRANTY, STRICT LIABILITY OR OTHER LEGAL OR EQUITABLE
THEORY, WHETHER OR NOT FORESEEABLE, AND REGARDLESS OF THE CAUSE OF
SUCH DAMAGES, EVEN IF THE PARTY HAS BEEN ADVISED OF THE POSSmILITY OF
SUCH DAMAGES IN ADVANCE.

XI.      Warranties. Each Party represents and warrants to the other Party that (i) it has all requisite power and
authority to enter into this Agreement and to perform its obligations hereunder; (ii) the execution and delivery of
this Agreement and the consummation of the transactions contemplated herein have been duly authorized by all
requisite action on the part of such Party regardless of the value of this Agreement or the amount of Revenues
generated hereunder; (iii) it is the sole and exclusive owner of all AP Material or ASU Material (as applicable)
developed or has the license to use and sub-license any Intellectual Property owned by third parties and
incorporated into such AP Materials or , and that, to the best of its knowledge, such AP Material or ASU
Material and the use thereof in accordance with the license terms hereunder does not and will not infringe any
third-party right and (iv) this Agreement has been duly executed and delivered on behalf of such Party.

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XD.     Termination

        A. If either Party materially breaches the terms of this Agreement and fails to correct the breach
           within 30 days after the non-breaching Party provides written notification, the non-breaching
           Party may terminate this Agreement.

        B. If AP uses the ASU Material, or if ASU uses the AP Material, in any manner that exceeds the
           licenses granted to such Party herein, and fails to immediately cease within 30 days after
           provided written notification of such unlicensed use, the other Party may immediately terminate
           this Agreement with written notice.

        C. Upon expiration or termination, ASU must cease all use of AP Material pursuant to Section IV.A
           hereof and return any such material in its possession to AP, provided that the license set forth in
           Section IV.A shall survive expiration or termination of the Agreement. Additionally, AP must
           cease all use of ASU Material and return any such material in its possession to ASU, provided
           that AP shall have the right to continue to use the ASU Material for the sole purpose of
           permitting Students then enrolled in the Program( s) to complete such Program( s).
           Notwithstanding the foregoing, AP may retain one copy of the ASU Material for quality
           assurance purposes.

XllI.   General

        A. Relationship Between the Parties. In connection with this Agreement, each Party is an independent
           contractor. Each Party will be solely responsible for payment of all compensation owed to its
           employees, as well as employment related taxes. Each Party will maintain appropriate worker's
           compensation for its employees as well as general liability insurance. The Parties are and shall act as
           independent contractors and not as an agent or employee of the other Party. Neither this Agreement,
           nor any terms or conditions contained herein, shall be construed as creating a partnership, joint
           venture, agency or franchise relationship between the Parties.

        B. Governing Law. This Agreement, and all matters arising out of or relating to this Agreement, shall be
           governed by the laws of the State of Georgia.

        C. Compliance with Federal, State and Local Laws. The Parties shall comply with all applicable
           federal, state and local laws in the conduct of the work supported by this Agreement. Neither Party
           nor any of its employees are or shall be deemed to be employees of the other Party for any purpose
           including, without limitation, application of the Fair Labor Standards Act minimum wage and
           overtime payment provisions, the Federal Insurance Contribution Act, the Social Security Act, the
           Federal Unemployment Tax Act, the provisions of the Internal Revenue Code, any state or local
           revenue or tax laws, state workers' compensation laws and state unemployment insurance laws.
           Each Party accepts full responsibility for payment of all taxes including, without limitation,
           unemployment compensation insurance premiums, all income tax deductions, Social Security
           deduction, and any and all other taxes or payroll deductions required for all employees engaged by
           such Party in the performance of the work supported by this Agreement. Each Party represents and
           warrants that it is qualified to do business in the geographies in which it will perform its obligations
           under this Agreement, and will obtain all necessary licenses and permits, and satisfy any other legal,
           regulatory and administrative requirements, necessary to its performance hereunder.

        D. Declaration Regarding Material AssistancelNon-assistance              to a Terrorist Organization.      If
           applicable, the Parties will provide certification attesting that they do not provide material assistance
           to any organization on the u.S. Department of State exclusion list.


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        E. Equal Opportunity Workplace. In performing this Agreement, the Parties shall not discriminate
           against any employee, applicant for employment or other person because of race, religion, color,
           sex, national origin, disability, age or ancestry. The Parties will take affmnative steps to ensure that
           applicants are employed and that employees are treated during their employment without regard to
           race, religion, sex, national origin, disability, age, or ancestry.

        F. Notice. All notices, including notices of address change, required to be sent hereunder shall be in
           writing and shall be deemed to have been given when mailed by first class mail to:

                          If to AP:
                                      Academic Partnerships, LLC
                                      Attn: Chief Financial Officer
                                      160 Continental Ave.
                                      Dallas, TX 75207
                                      FAX: 214-210-3997

With copy to:
                                      Academic Partnerships, LLC
                                      Attn: Legal Dept.
                                      2200 Ross Ave., Suite 3800
                                      Dallas, TX 75201
                                      FAX No. 214-438-4133


                          IftoASU:
                                  Augusta State University
                                  Attn: Chief Financial Officer
                                  2500 Walton Way
                                  Augusta, Georgia 30904-2200
                                  FAX: 706-667-4993

        The Parties agree that they each may treat documents faxed by the other Party as original documents;
        nevertheless, either Party may require the other to exchange original signed documents.

        G. Severability. In the event any provision of this Agreement is held to be invalid or unenforceable,
           the remaining provisions of this Agreement will remain in full force.

        H. Waiver. The waiver by either Party of any default or breach ofthis Agreement shall not constitute
           a waiver of any other or subsequent default or breach. Except for actions for nonpayment or breach
           of either Party's Intellectual Property rights, no action, regardless of form, arising out of this
           Agreement may be brought by either Party more than two years after the cause of action has
           occurred.

        I.   Headings. The headings appearing in this Agreement are inserted for convenience only, and will
             not be used to define, limit or enlarge the scope of this Agreement or any of the obligations herein.

        J. Counterparts.           This Agreement may be executed in any number of counterparts, each of
             which will be an original, and such counterparts together will constitute one and the same
             instrument. Execution may be effected by delivery of facsimiles of signature pages (and the Parties
             will follow such delivery by prompt delivery of originals of such pages).



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         K. Confidential Information.       Each Party agrees that, except for the purpose of performing its
            obligations in accordance with the terms of this Agreement, it will not use or disclose to any
            third party any business or technical information of the other Party which, in the exercise of
            reasonable judgment, should be recognized by such Party as confidential ("Confidential
            Information"). The obligation of confidentiality shall not apply to information which: (i) is or
            becomes part ofthe public domain through no fault of the receiving Party; (ii) is furnished by the
            disclosing Party to others without restrictions on use and disclosure; (iii) becomes known or
            available to the receiving Party without restriction from a source other than the disclosing Party
            without breach of any agreement with the disclosing Party; (iv) is disclosed with prior written
            approval of the disclosing Party; (v) is independently developed by the receiving Party without
            the use of any Confidential Information; (vi) is previously known to the receiving Party on a
            non-confidential basis; or (vii) is required by court order or government agency to be disclosed,
            in which case, the receiving Party shall give the disclosing Party as much notice as is reasonably
            practical so that the disclosing Party may seek a protective order or other confidential protection
            as the disclosing Party, in its sole discretion, may elect and the receiving Party shall reasonably
            cooperate with the disclosing Party, at the disclosing Party's expense, in the disclosing Party's
            efforts to obtain such order or protection.

         L. Force Majeure. Neither Party will be liable for delays or failure in its performance hereunder to
            the extent such delay or failure is caused by any act of God, war, natural disaster, strike, lockout,
            labor dispute, work stoppage, fire, third-party criminal act, quarantine restriction or act of
            government, or any other event beyond the reasonable control of that Party (an "Excusable Delay").
            This Agreement may be terminated, with written notice, by either Party under this Section if the
            Excusable Delay of the non-performing Party continues for more than 90 days.

         M. Entire Agreement. This Agreement and any Exhibits and Addenda hereto constitute the complete
            agreement between the Parties with respect to the subject matter of this Agreement and supersede all
            previous and contemporaneous agreements, proposals, or representations, written or oral,
            concerning such subject matter. Neither this Agreement nor an Exhibit or Addendum may be
            modified or amended except in writing signed by a duly authorized representative of each Party; no
            other act, document, usage, or custom shall be deemed to amend or modify this Agreement or an
            Exhibit or Addendum. The following Sections shall survive the expiration and termination of this
            Agreement: m.r, N, VI, vrn, IX, X, XI, xn, and xrn.

         N. Successors and Assigns. This Agreement will be binding upon, and will inure to the benefit of, the
            permitted successors and assigns of each Party hereto. ASU may not assign, delegate, transfer, or
            otherwise convey this Agreement or any of its rights hereunder, to any entity without the prior
            written consent of AP, and any attempted assignment or delegation without such consent shall be
            void.

                                                            Augusta State University

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                                                APPENDIX A
                                (AP Trademarks, including those of its affiliates)

             1. ACADEMIC PARTNERSHIPS, LLC
             2. AP
             3.   UNIVERSITY PARTNERS
             4.   STATEU.COM
             5.   EPIC
             6.   EPIC LEARNING




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                                                  APPENDIXB
                                                 CASUTrademarks)

             1. ASU-
             2. ASULOGO
             3. ASU logo




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                                                    Confidential
